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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                   Plaintiff,

         v.                                  CRIMINAL NO. 1:17CR32-27
                                                  (Judge Keeley)

  MAKYNA KANCSO,

                   Defendant.

       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 473),
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

         On   September     11,   2017,   the   defendant,     Makyna    Kancso

  (“Kancso”), appeared before United States Magistrate Judge Michael

  J. Aloi and moved for permission to enter a plea of GUILTY to Count

  Three of the Indictment. Kancso stated that she understood that the

  magistrate judge is not a United States district judge, and

  consented to pleading before the magistrate judge.           This Court had

  referred the guilty plea to the magistrate judge for the purposes

  of   administering      the   allocution   pursuant   to   Federal    Rule   of

  Criminal Procedure 11, making a finding as to whether the plea was

  knowingly and voluntarily entered, and recommending to this Court

  whether the plea should be accepted.

         Based upon Kancso’s statements during the plea hearing and the

  testimony of Mark Trump, Detective, Morgantown Police Department,

  the magistrate judge found that Kancso was competent to enter a

  plea, that the plea was freely and voluntarily given, that she was
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  aware of the nature of the charges against her and the consequences

  of her plea, and that a factual basis existed for the tendered

  plea. On September 11, 2017, the magistrate judge entered an Report

  and Recommendation Concerning Plea of Guilty in Felony Case (“R&R”)

  (dkt. no. 473) finding a factual basis for the plea and recommended

  that this Court accept Kancso’s plea of guilty to Count Three of

  the Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Kancso’s guilty plea, and ADJUGES her GUILTY of the crime

  charged in Count Three of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



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        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 473),
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          Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

        1.    The Probation Officer shall undertake a presentence

  investigation of Kancso, and prepare a presentence report for the

  Court;

        2.    The Government and Kancso shall provide their versions of

  the offense to the probation officer by October 2, 2017;

        3.    The presentence report shall be disclosed to Kancso,

  defense counsel, and the United States on or before December 4,

  2017;    however,   the   Probation   Officer   shall   not   disclose   any

  sentencing recommendations made pursuant to Fed. R. Crim. P.

  32(e)(3);

        4.    Counsel may file written objections to the presentence

  report on or before December 18, 2017;

        5.    The Office of Probation shall submit the presentence

  report with addendum to the Court on or before January 2, 2018; and

        6.    Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the

  factual basis from the statements or motions, on or before January

  2, 2018.


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        The magistrate judge continued Kancso on bond pursuant to the

  Order Setting Conditions of Release (dkt. no. 62) entered on June

  9, 2017.

        The   Court   will   conduct    the   sentencing   hearing   for   the

  defendant on Tuesday, January 16, 2018 at 10:30 A.M. at the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: September 25, 2017


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




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